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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
CLEVELAND JOHNSON,            )                         ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motions

to reduce sentence and request for evidentiary hearing (Filing

Nos. 1088 and 1115).     The defendant seeks an evidentiary hearing

regarding the application of recent Supreme Court decisions to a

determination of his sentence.        The Court finds defendant is not

entitled to a modification of his sentence.              Accordingly,

           IT IS ORDERED:

           1) The motions for modification of sentence are denied.

           2) Defendant’s request for evidentiary hearing and oral

argument is denied.

           DATED this 2nd day of December, 2009.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
